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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,       )
                                ) CR S-09-0321 MCE
                   Plaintiff,   )
                                ) STIPULATION AND ORDER RESETTING
             v.                 ) STATUS CONFERENCE AND EXCLUDING
                                ) TIME UNDER THE SPEEDY TRIAL ACT
     MICHAEL DAVES,             )
                                ) DATE: June 24, 2010
                   Defendant.   ) TIME: 9:00 AM
                                ) CTRM: MCE
     The United States of America, through counsel of record, Assistant
United States Attorney Robin R. Taylor, and defendant Michael Daves,
by an through his counsel of record, Michael Bigelow Esq., hereby submit
this stipulation and proposed order regarding the status conference set
for May 6, 2010.    The parties desire to move this appearance to June
24, 2010.
     The defendant moves that time be excluded from May 6, 2010, through
June 24, 2010, from computation of time within which the trial of this
case must be commenced, pursuant 18 U.S.C. § 3161(h)(8)(B)(iv) (Local
code T4 - to give counsel reasonable time to prepare).         Mr. Bigelow
represents that he needs time review discovery, meet with his client,
and meet with the government.
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     The defendant is aware of the request for continuance and approves
of it.


                                           Respectfully submitted,
                                           BENJAMIN B. WAGNER
                                           United States Attorney

Dated: May 5, 2010                   By:     /s/ Robin Taylor
                                           ROBIN TAYLOR
                                           Assistant U.S. Attorney
                                           Attorneys for Plaintiff

DATED: May 5, 2010                         By:/s/ Michael Bigelow
                                           MICHAEL B. BIGELOW
                                           Attorney for Defendant




                                      ORDER



     For good cause shown above,


     IT IS SO ORDERED pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv).



     DATED: _May 5, 2010

                                 __________________________________
                                 MORRISON C. ENGLAND, JR
                                 UNITED STATES DISTRICT JUDGE
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